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                                                                                May 10, 2024


Honorable Richard M. Berman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


       Re:      United States v. Keonne Rodriguez,
                24 Cr. 082 (RMB)

Dear Judge Berman:

        We write on behalf of Keonne Rodgriguez, the defendant in the above-referenced matter.
As described below, Mr. Rodriguez respectfully requests that the Court grant two applications:
(i) an adjournment of the May 14 status conference to a date and time convenient for the Court;
and (ii) a modification of Mr. Rodriguez’s bail conditions to extend the time within which he must
comply with the final remaining bail condition. This is the Defendant’s first request for an
extension of time in this case. We have conferred with counsel for the Government, who (i) take
no position on the adjournment of the status conference; and (ii) do not object to the extension of
time to satisfy the final bail condition.

        First, Mr. Rodriguez is directed to appear for an initial status conference at 2:00 p.m. on
Tuesday, May 14, 2024.1 Unfortunately, due in part to Mr. Rodriguez’s home detention in
Pennsylvania and financial restrictions imposed upon release, Mr. Rodriguez has been unable to
confer fully to finalize an engagement with counsel. Accordingly, we respectfully request that the
Court briefly adjourn the May 14 initial status conference for a period of two weeks to a date
convenient for the Court. We are hopeful the details of Mr. Rodriguez’s representation, currently
being discussed with the Government, will be finalized shortly. We have spoken with Mr.
Rodriguez and he consents to the exclusion of speedy trial time to the next scheduled date, should
the Court grant our request.


1
  Mr. Rodriguez continues to work through the process of engaging a private firm to represent
him in this matter, including potentially the undersigned. As the Court is aware, the undersigned
represented Mr. Rodriguez for the limited purpose of arraignment and bail in front of Judge
Moses on April 29, 2024.
                      AMERICAS (NEW YORK, DELAWARE, MIAMI, SAN FRANCISCO, SÃO PAULO, WASHINGTON DC)
          APAC (HONG KONG, SEOUL, SHANGHAI), CARIBBEAN (BVI, CAYMAN ISLANDS), EMEA (CYPRUS, DUBAI, LONDON, TEL AVIV)
                        KOBRE & KIM REFERS TO KOBRE & KIM LLP, A NEW YORK LIMITED LIABILITY PARTNERSHIP.
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      Honorable Richard M. Berman
      May 10, 2024
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              Second, we also respectfully request that Mr. Rodriguez be given a one-week extension to
      satisfy the conditions of his bond. At his initial appearance on April 29, Mr. Rodriguez’s wife
      agreed to secure the $1,000,000 bond with property owned by Mrs. Rodriguez located in
      Pennsylvania. Judge Moses directed that the property be posted by May 14, 2024. However, the
      deed to the property (which is their marital home) was seized during the Government’s search of
      the property at the time of Mr. Rodriguez’s arrest. The Government only provided the deed to the
      property to the undersigned on May 8, 2024. Given this delay, we request that Mr. Rodriguez be
      allowed to perfect the bond by May 21, 2024.

             We appreciate the Court’s consideration of this request, and, as always, are available to
      answer any questions the Court may have.


Applications are granted. The conference
                                                        Respectfully submitted,
is adjourned to 5/28/24 at 11:00 am. Time is
excluded pursuant to the Speedy Trial Act               KOBRE & KIM LLP
for the reasons set forth in this letter.
                                                        /s/ Sean S. Buckley
                                                        Sean S. Buckley
                                                        Michael T. Keilty
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       cc:     AUSAs Andrew Chan and David Felton
               Attorneys for the Government
